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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Jennifer Hough,
Plaintiff,
-against Civil Action No. 21-cv-4568
Onika Tanya Maraj, AKA (“Nicki Minaj”’) Declaration of Jennifer Hough
an individual,
Kenneth Petty, AKA (“Zoo”),
an individual
Defendants.

Declaration of Jennifer Hough

I, Jennifer Hough, hereby declare according to 28 U.S.C. §1746 as follows:

1. I submit this Declaration in support of the Declaration of default judgment against Kenneth
Petty (“Kenny”) and Onika Tanya Maraj (“Maraj”). I have personal knowledge of the facts
outlined in this Declaration.

2. On September 16, 1994, I was a sixteen-year-old girl. I left my grandmother’s house in
Jamaica, Queens, and was headed to the Q7 MTA bus stop on 145th street and Rockaway
Blvd. to catch the bus for school. I attended John Adams High School.

3. Kenneth Petty was standing at the bus stop when I arrived. Kenny (as he was known in the
neighborhood) was a neighborhood delinquent and member of the Bloods gang. Kenny was
known for cutting school.

4. When I arrived at the bus stop, I was shocked to see Kenny standing there. Kenny’s custom
was to stand outside the corner store across the street from the bus stop, not the bus stop itself.

5. After a brief exchange with Kenny, I turned my back to see if the Q7 bus or a dollar van was

coming.
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6. As I turned my back, Kenny approached me from behind. Kenny grabbed the back of my
jacket firmly and pressed a knife into my back, and told me to "start walking.”

7. I tried to turn around, but Kenny would not let me go, nor would he take the knife from my
back.

8. I began pleading for my life; "Kenny, where are we going?" "Kenny, please just let me go.”
Kenny did not let me go. He made up his mind that he was going to kidnap me.

9. Kenny forced me to walk to a house around the corner from the bus stop. During that walk,
he never let loose of his grip on my clothing while he had the knife pressed against my back.

10. Kenny kicked the door to the house open. He pushed me inside and forced me upstairs, still at
knifepoint.

11. I was crying the whole way up the stairs, pleading for my life, absolutely terrified of what
Kenny was planning to do to me. I thought I was going to die.

12. I pled to Kenny, “what do you want from me?", "Why am I here?"

13. Kenny replied, "you know what I want." I started fighting with Kenny to prevent him from
taking off my clothing.

14. Kenny held me down with his bodyweight and used his hands to rip off my pants forcibly.

15. I was fighting back with all the strength I had. Then Kenny grabbed the knife again, pressed
it into my stomach, causing a small cut, and threatened to stab me if I did not release the grip
of my jeans.

16. Kenny began to squeeze my sides to force me to let go of my pants.

17. After being threatened with a knife cut on my stomach, J had no fight left in me. I did the only
thing I could do to save my life, and that was to give in and hope Kenney would be finished

raping me quickly. My only goal was to get out of the house alive.
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18. Once Kenny finished raping me, he got up, stood in the mirror, and beat on his chest, stating,
"I am the man, I am the man" repeatedly.

19. As he was beating his chest in the mirror, I mustered all the strength I had to get up, and I asked
Kenny, "can I please leave."

20. I attempted to walk towards the door, and Kenny blocked me from leaving.

21. All I could do at that point was to beg and plead to Kenny for my freedom, “please let me go,”
“T promise I won’t say anything.” I said anything I thought would work to get out of that
house.

22. Kenny was still admiring himself in the mirror and attempted to light a cigarette in celebration.

23. I offered to light the cigarette for him. I lita match and attempted to throw the lit flame towards
a roll of toilet paper on the dresser in front of me in hopes of setting the toilet paper ablaze.
Unfortunately, the flame went out before it reached the toilet paper roll.

24. I then grabbed a bottle of contact solution on the dresser. I threw it with whatever strength I
had left at Kenny’s head. Kenny ducked from the contact solution bottle, and I pushed him
with all my might, he fell, and I sprinted down the stairs.

25. Kenny quickly got up and yelled down the stairs as I was running, “Nobody is going to believe

you.”

26. I did not stop running, and I sprinted at least 20 blocks until I reached John Adams High School.

27. Once there, I informed the school security guards of what happened, and they immediately
contacted the police.

28. Once the police arrived, they questioned me and placed me in a van to go to the house to

confirm where Kenney raped me.
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29. Kenny was still in the house where he raped me, and he was arrested on the spot. I confirmed
his identity with the officers, and the police took Kenny to the police station and took me to
the hospital to be checked out.

30. My friend brought me home from the hospital, and this was the first of many people who
victim-blamed me. Hours after being violently raped, when I got into the house my adopted

grandmother (the woman who raised me) said, "I am sorry you got raped, but you should have

screamed."

31. The day after Kenney raped me, his parents showed up at my house. This was the beginning
of the worst period of my life. My family and I began receiving death threats. People were
calling the house phone, threatening my adopted grandmother, telling her that I had better drop
the charges of rape against Kenny.

32. Kenny’s parents went so far as to state that I was only accusing Kenny of rape out of anger.
Kenny’s parents claimed that Kenny no longer wanted to date me, so I made this entire story
up out of anger.

33. I never dated Kenny, nor even knew him aside from seeing him in the neighborhood and
hearing about him via word of mouth. Kenny and I were never romantic in any way before he
raped me.

34. The harassment and intimidation by Kenny’s parents were relentless, Kenny’s parents even
took me to the Queen’s District Attorney. They pretended to be my aunt and uncle to get me
to drop the charges against Kenny.

35. Shortly after the visit from Kenny’s parents, my household began receiving death threats.

Rumors circulated in the neighborhood that something would happen to me if I did not drop
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the charges. Kenny is a member of the Makk Ballers set of the Bloods Gang located in the
Jamaica Queens neighborhood, and threats of that nature are not taken lightly.

36. After the death threats, my family began to turn on me because they were afraid of the violence
that Kenny and his Makk Baller associates brought to our doorstep.

37. As a sixteen-year-old, I felt exposed, confused, afraid, and alone. I had just been brutally
raped; I could not go outside without the fear of being retaliated against for telling the police,
and now I was afraid to be home because I was being threatened by outsiders for telling the
police and by my family for bringing death threats and violence to our home.

38.1 was constantly beaten and verbally abused in the street and my home because everyone
wanted me to drop the charges against Kenny.

39. On the day of Kenny's criminal proceeding, my family forced me to go to the hearing even
though the District Attorney said I did not have to be there. I was not testifying because Kenny
had already taken a plea deal for attempted rape. My family hid me in the stairwell with the
intent to bring me into the courtroom at the beginning of the proceeding. I was standing in the
stairwell the entire time, mentally in shambles.

40. The Queens District Attorney happened to take the stairs that day and ran into me sitting on
the stairs with my family members. She asked me what I was doing there. I told the truth and
said, "They are forcing me to drop the charges." The DA responded that she would handle it.

41. When everyone was in Court, the Judge asked if anyone had anything to say. I stood up and
stated that I wanted to drop the charges. The Judge did not find my statement very convincing

and stated, “take that up with the District Attorney.”
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42. When I got home from Court, I was beaten because my family felt I was not convincing enough
for the Judge. My family was afraid of what would happen because Kenny was now facing
prison time.

43. Due to the mental trauma from the rape by Kenny and everything that transpired after, the
constant beatings from my family, and the verbal abuse at home, I ran away from New York
City and moved to Florida with my uncle.

44. I thought my uncle would protect me. Instead, he ended up raping me shortly after my arrival.
I left my uncle's home in Florida and have been on my own ever since.

45. I was mentally and emotionally destroyed and attempted to find value and kindness in anything
I could—partying, drugs, living in the streets, in and out of shelters. My self-worth was at
zero, my emotions were empty, and I was lost.

46. I moved around a lot because I was too afraid to go back to New York for fear of someone
recognizing me. I had four children, numerous failed relationships, and never knew a true
home in my entire life.

47. In 2016, I moved to Atlanta, Georgia, where I met my husband, whom I wed in 2018. I was
finally beginning to learn to be happy and love myself.

48. In 2018, Maraj posted that she was doing a turkey giveaway in Queens, New York, on
Rockaway Blvd. and 147th street. This attracted much attention given how big of a star Maraj
is, and since Queens was her hometown.

49. On November 25, 2018, Maraj posted a picture of her and Kenny. It appeared they were dating,

and in the photo, they were throwing up gang signs.
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50. Toward the end of November, Maraj posted another picture of her and Kenny and replied to a
comment stating, “Kenny was 15, she! was 16 and, in a relationship, but go awf Internet."
(Exhibit A). This was picked up by every publication, tabloid, iheartradio, USA today,
bloggers, and YouTubers.

51. As a result of Maraj’s post, I was sought after for comment. Seeing no choice than to defend
the truth, I recorded an interview with a YouTube blogger, giving my side of the story. I
thought that would be the end of it.

52. In November 2019, Maraj did a show called "shade no shade" on Queen radio. She defamed
my character when she repeated the same lie that Kenny was 15 years old but now added that
he was “wrongly accused," “he did not have bail money,” and said that I had “written a letter
recanting my statement” but would face 90 days in jail if 1 had done so — which was all false.

53. Maraj also stated, "but white is right,” because I am biracial (my deceased mother was
Caucasian, and my father is African American). This was troubling because Maraj was trying
to paint a narrative that my accusation of Kenny's rape was analogous to that of Emmett Till.

54. These statements by Maraj put social media ina frenzy trying to figure out who I was; if indeed
I was a white woman, and where I currently lived.

55. In March 2020, Kenny was arrested for failing to register as a sex offender in California. This
came as a surprise to me because Kenny had consistently registered as a sex offender from
2013 to 2018, just before appearing in queens with Maraj.

56. A few days after the arrest the I was contacted by someone whom I believed was an old

childhood friend, Barry Dukes, aka “Black.” We caught up, and the topic of my 1994 rape

' Referencing me.
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came up, to which I stated, "I wished it could all just go away forever.” Black responded, “I
can make that happen.”

57. A few days later, Black called me and informed me that Maraj had asked for my phone number
and that he had given it to her. Black sent me a text message of a screenshot he received from
Kenny. In the message was a phone number with the name wifey. (Exhibit B). Black informed
me that I would receive a call from Maraj from that number. Shortly after that, Maraj called
me.

58. During the call, Maraj stated she heard I was willing to "help out" their situation and stated
that she would fly my family and me to Los Angeles. I declined this offer.

59. Maraj then stated she would send her publicist to me to craft a statement recanting my rape
charge. I denied this offer as well.

60. Before we got off the phone, I said to Maraj, “I need you to know woman to woman, that this
happened." Maraj hung up the phone. Within days of this conversation, my family and |
suffered an onslaught of harassing calls and unsolicited visits.

61. A few days after Maraj called me, my brother called me. He stated two people reached out to

a family member stating an offer of $500,000.00 from Maraj if I wrote a letter recanting the

rape claim against Kenny.

62. This act by Maraj and her associates caused me to panic because Black, who was in contact
with Maraj, now knew where I lived, where I worked, and my kids' identity.

63. In April 2020, on behalf of Kenny, factfinder/investigator Charles Mittelstadt from Georgia
contacted me. He put me in contact with an attorney named Jan Wallach ("Attorney Wallach")

from New York.
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64. Kenny’s legal team hired Attorney Wallach to give me “legal advice” about recanting the 1994
rape statement.

65. Attorney Wallach stated he was my lawyer, and anything said to him was protected under
attorney-client privilege. I did not know Attorney Wallach and had not reached out to him for
legal services.

66. I told Attorney Wallach Maraj, and Kenny was sending people to my home and to the homes
of my loved ones to get me to recant my true statement that Kenny violently raped me.
Attorney Wallach promised to help me, but he never did.

67. Black continued to receive and relay messages from Kenny and Maraj and relayed them to me.
For a while, I ignored Black's calls. When I finally answered, and he told me that he had good
news and stated that nothing would happen to me if I signed and notarized some papers in his
possession.

68. Shortly after the call, Black appeared in front of my home. To protect my children in my home,
I met Black in front of my house in his car. While in his car, Black pulled out a green-colored
folder that had a document inside. This document was a written recanted statement prepared
for me to sign.

69. Black then pulls twenty thousand dollars out of the armrest and places it on my lap. I took the
money off my lap and placed it on the floor. I could not believe that Maraj would go this far
to bribe me.

70. As a result of these unsolicited calls, contacts, popup visits, and communications, I started
having nightmares and panic attacks. The memories began to flood back from the day of
Kenny raping me. I began to experience anger, pain, sorrow, anxiety, and trust issues. I started

having crying fits and thoughts of paranoia.
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71. At the end of May 2020, I received a call from my brother. He was speaking frantically. My
brother stated they knew where I lived, what my oldest daughter did during her day, and they
threatened to have someone else show up at my house if I did not recant the 1994 rape claim.

72. After receiving this threat, I moved in June of 2020. I changed my phone number and
registered the new number under my husband's name. These efforts were unsuccessful in
curbing the harassment and unwanted contact shortly after changing my number. I became so
paranoid that I moved again in August 2020.

73. Three days after moving in August 2020, U.S. Marshal Roy Wright showed up at my husband's
job. I called U.S. Marshal Wright, and he stated that someone had called to report that I was
being harassed and they were worried about my safety.

74. The Marshal offered me witness protection. The Marshal also confirmed that the call I received
from California was indeed Maraj.

75. In September 2020, while visiting my brother in South Carolina, I was harassed once again. I
got a call from a New York Attorney stating that they represent Kenny.

76. The attorney stated they were trying to go to Court to get Kenny off the sex offenders registry
and asked about the recantment letter and if I wrote it,

77. In October of 2020, my daughter was at an event in Atlanta, Georgia. At the end of the night,
my daughter and her friend Sroup were approached by a man. The man asked, “do you know
Zoo?” (Zoo is Kenny’s Street name). My daughter yelled at the man and left with her friends.

78. After this incident, I again feared for my family's safety, so I moved to Florida. I was afraid
my child would be killed or kidnapped due to the threats from Maraj and Kenny.

79. In November of 2020, I put a YouTube video out speaking about everything I had been going

through in hopes of creating a digital footprint just in case something was to happen to me.

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80. Bloggers caught wind of the YouTube video and began victim-shaming me, telling their
audiences that I was lying, that I was just a white woman trying to make a quick dollar out of
the limelight. Maraj’s fans claimed, "Nicki said it was a lie, so it is a lie."

81. As a result, I have not worked since May of 2020 due to severe depression, paranoia, constant
moving, harassment, and threats from Maraj, Kenny, and their associates. Iam currently living
in isolation out of fear of retaliation.

82. On August 12, 2021, within days of Kenny reaching a plea agreement in the Central District
of California for his failure to register as a sex offender, Black posted a threat to me on his
Instagram social media account.

83. In the post, Black said, "Case is over now," referring to the federal criminal case Kenny
accepted the plea deal for in the Central District of California. The video went on to say:

a. “Jon Wayne tv coming soon tell that bitch she will be expose case over now 20k huh,”
b. “u know u don’t fucked uped,”

c. “Jon wayne tv,”

d. “you lying ass bitch, 20 thousand,”

84. Black ends the video with a photo of two guns circled, with the words “be safe out here lol”
written on the photo. (Exhibit C).

85. In fear for my life, I filed a police report in Florida and have since moved to another state out
of fear of being found and killed by Kenny, Maraj, Black, or one of their associates.

Recent threats:

86. Since filing this lawsuit, I have received an onslaught of hate messages and threats on

Instagram from Maraj’s fans and followers. (Exhibit D).

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87. The weekend of October 23, 2021, Maraj and Kenny were in Jamaica, Queen’s New York.
Maraj did a live video on Instagram.

88. During that Instagram live video, Kenney, along with other members of the Makk Ballers set
of the Bloods Gang, and Maraj were throwing up gang signs and threatening me.

89. On Twitter, a member of the Makk Ballers set of the Bloods Gang said the following: “Jennifer
if you see this, the Makks are coming to get you.” (Exhibit E).

90. On October 24, 2021, at 9:22 PM, Kenny’s attorney Steven D. Isser, and Maraj’s attorney,
Judd Burstein, met with and spoke to Lexie Chung. (Exhibit F). This information as provide
to me by a blogger. It is important to note this meeting occurred twenty-four hours before

Steven D. Isser made an appearance in this case on behalf of Kenny.
I declare under penalty of perjury that the preceding is true and correct.

Executed on October 27, 2021.
Letter tought

Jennifer Hough (Oct 27, 2074 23:35 EDT)
8

Jennifer Hough

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Declaration of Jennifer Hough.edited

Final Audit Report 2021-10-28
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By: Tyrone Blackburn (tyrone.a.blackburn@gmail.com)
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